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                     EXHIBIT EE
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      1    UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK
      2    ------------------------------x
      3    UNITED STATES OF AMERICA,

      4                 v.                               08 CR 8000(HBP)

      5    JOHN DOE,

      6                      Defendant.

      7    ------------------------------x
      8                                                  New York, N.Y.
                                                         July 30, 2015
      9                                                  10:15 a.m.

     10
           Before:
     11
                                   HON. HENRY B. PITMAN,
     12
                                                         District Judge
     13

     14                              APPEARANCES
           PREET BHARARA
     15         United States Attorney for the
                Southern District of New York
     16    ANDREW BAUER
           BRIAN BLAIS
     17         Assistant United States Attorney

     18    J. CHRISTOPHER ALBANESE
                Attorney for Defendant
     19

     20    Also p r esent:   S.A. Shannon Bieniek, FBI

     21

     22

     23

     24

     25


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      1               (In sealed court; case called)

      2               THE COURT:   Good morning.   Please be seated.

      3               THE DEPUTY CLERK:   Counsel, state your name for the

      4    record.

      5               MR. BLAIS:   Andrew Bauer and Brian Blais for the

      6    government.    We're joined at counsel table by FBI Agent Shannon

      7    Bieniek.

      8               MR. ALBANESE:   J. Christopher Albanese, attorney for

      9    the defendant Albert Hallac.

     10               THE COURT:   Good morning.   This is an initial matter.

     11    Any attorney in the well of the court with a cell phone is

     12    directed to turn the cell phone off at this time so we give our

     13    undivided attention to the matter at hand.

     14               I understand there is an application on behalf of

     15    Mr. Hallac.

     16               MR. ALBANESE:   Yes, your Honor.

     17               THE COURT:   And the applications are?

     18               MR. ALBANESE:   We have an application to seal the

     19    record, the docket, as well as the courtroom for this

     20    proceeding.

     21               I have an affirmation in that regard that I take it

     22    the government has received?

     23               MR. BAUER:   We have, your Honor.

     24               THE COURT:   What is the government's position?

     25               MR. BAUER:   Your Honor, our position is different for


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      1    each of the requests.       As it relates to today's proceedings,

      2    the government would consent or join in the application to seal

      3    today's proceeding as well as the transcript.        There was

      4    another request to seal the entire docket to make it a United

      5    States v. John Doe entry.        We take no position on that, your

      6    Honor.     We certainly see some of the points that defense

      7    counsel has made.        We're not opposing it today, but on the

      8    other hand we're not sure it is entirely necessary and we do

      9    oppose the request to seal the courtroom.

     10                THE COURT:     The opposition to sealing the courtroom,

     11    is that based on the DOJ policy or is there something unique

     12    about this case or is it something else?

     13               MR. BAUER:      It is based on the DOJ policy, your Honor.

     14   But as specific to this case, I don't think the facts as we

     15    know them or are articulated in defense counsel's submission

     16    rise to the level requiring the sealing of the courtroom.

     17               THE COURT:     What are your thoughts?

     18               MR. ALBANESE:      Your Honor, as the government notes and

     19    I believe will attest the potential future defendants in this

     20   matter are not only extremely litigious but they are

     21   potentially dangerous.        There has been a history of violence.

     22   One of the potential defendants -- I don't know if you would

     23   like me to go into details with names, Drew.         But as far as

     24   potential defendants go, there has been a potential history of

     25   organized crime ties.        There has also been some rumors of other


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      1   witnesses that have met untimely demise at least in his

      2    father's case.    So there is some concern from defense counsel

      3    on that issue.

      4               THE COURT:   I am going to grant defendant's

      5    application and seal the courtroom and the record.

      6               Is there anyone in the gallery who is not either with

      7    the U.S. Attorney's Office or with the FBI?

      8               PRETRIAL OFFICER:      I am with pretrial, your Honor.

      9               THE COURT:   Let me rephrase the question.     Anyone who

     10    is not with the U.S. Attorney's Office, federal law

     11    enforcement, pretrial, or other federal agency?

     12               UNIDENTIFED SPEAKER:     Yes, your Honor.   We're counsel

     13    for Weston Capitalized Management.

     14               MR. ALBANESE:   They are co-counsel, your Honor.

     15               THE COURT:   You're co-counsel?

     16               MR. ALBANESE:   Yes.

     17               THE COURT:   I take it there is no objection to their

     18   remaining.

     19               MR. ALBANESE:   I prefer if they did.

     20               THE COURT:   Is there anyone else who doesn't fit into

     21   those categories?

     22               Let me ask the deputy at this time to lock the

     23   courtroom door.

     24               MR. ALBANESE:   Thank you, your Honor.

     25               THE COURT:   The first order of business will be for


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      1    Mr. Hallac to waive indictment and proceed by way of

      2    information; is that right?

      3               MR. BAUER:   That is correct, your Honor.       The matter

      4    was wheeled out to Judge Berman.         To be clear on t he record,

      5    Judge Berman referred the case to your Honor for the guilty

      6    plea.    This is our first

      7               THE COURT:   Let me ask Mr. Cancellarich to conduct the

      8    waiver of indictment allocution.

      9               THE DEPUTY CLERK:    You are Albert Hallac?

     10               THE DEFENDANT:    Yes, I am.

     11               THE DEPUTY CLERK:    Have you signed the waiver of

     12    indictment?

     13               THE DEFENDANT:    Yes, I have.

     14               THE DEPUTY CLERK:    Before you signed it, did you

     15    discuss it with your attorney?

     16               THE DEFENDANT:    I certainly did.

     17               THE DEPUTY CLERK:    Did your attorney explain it to

     18    you?

     19               THE DEFENDANT:    Yes.

     20               THE DEPUTY CLERK:    Do you understand what you are

     21    doing?

     22               THE DEFENDANT:    Yes.

     23               THE DEPUTY CLERK:    Do you understand you are under no

     24    obligation to waive indictment?

     25               THE DEFENDANT:    Yes, sir.


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      1               THE DEPUTY CLERK:   Do you understand if you do not

      2    waive indi ctment if the government wants to prosecute you, they

      3    will present this case to a grand jury, which may or may not

      4    indict you?

      5               THE DEFENDANT:   I understand.

      6               THE DEPUTY CLERK:   Do you understand by signing this

      7    waiver of indictment, you have given up your right to have this

      8    case presented to a grand jury?

      9               THE DEFENDANT:   I understand.

     10               THE DEPUTY CLERK:   Do you understand what a grand jury

     11    is?

     12               THE DEFENDANT:   Yes, sir.

     13               THE DEPUTY CLERK:   Have you seen a copy of the

     14    information?

     15               THE DEFENDANT:   Yes, sir.

     16               THE DEPUTY CLERK:   Do you waive its public reading?

     17               THE DEFENDANT:   Yes, sir.

     18               THE DEPUTY CLERK:   Thank you.

     19               THE COURT:   At this time let me also ask

     20    Mr. Cancellarich to place two documents before Mr. Hallac.

     21               There a one-page document entitled Consent to Proceed

     22    before a United Magistrate Judge on a Felony Plea Allocution

     23    and a document in the form of a letter dated July 27, 2015.

     24               Let me ask Mr. Cancellarich to mark the letter as

     25    Court Exhibit 1, please.


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      1               Mr. Hallac, two documents have been placed before you.

      2    I want to first discuss with you the one-page document entitled

      3    Consent to Proceed before a United States Magistrate Judge on a

      4    Felony Plea Allocution.

      5               Do you see that one-page document?

      6               THE DEFENDANT:   Yes, your Honor.

      7               THE COURT:   Does your signature appear on the bottom

      8    of it?

      9               THE DEFENDANT:   Yes, your Honor.

     10               THE COURT:   Did you read it before you signed it?

     11               THE DEFENDANT:   Yes, I did.

     12               THE COURT:   Did you discuss it with your attorney

     13    before you signed it?

     14               THE DEFENDANT:   Yes, I did, your Honor.

     15               THE COURT:   Do you understand that you have the right

     16    to have your plea taken by a district court judge instead of a

     17    magistrate court judge?

     18               THE DEFENDANT:   Yes, your Honor.

     19               THE COURT:   Do you understand that by signing that

     20    piece of paper, you are giving up your right to have your plea

     21    taken by district court judge and consenting to have it taken

     22    by a magistrate judge?      Do you understand that to be the effect

     23    of your signature on that piece of paper?

     24               THE DEFENDANT:    I understand, your Honor.

     25               THE COURT:   Has anyone made any promises to you or has


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      1    anyone made any threats to you or has anyone made any force

      2    against you to induce you to consent to proceed before a

      3    magistrate judge?

      4               THE DEFENDANT:   No, your Honor.

      5               THE COURT:   There is a second document before you in

      6    letter in the form of a letter ma r ked Court Exhibit 1.   Do you

      7    see Court Exhibit 1?

      8               THE DEFENDANT:   Yes, your Honor.

      9               THE COURT:   Does your signature appear on the last

     10    page of Court Exhibit 1?

     11               THE DEFENDANT:   Yes, it does.

     12               THE COURT:   Did you read Court Exhibit 1 before you

     13    signed it?

     14               THE DEFENDANT:   Yes, your Honor.

     15               THE COURT:   Did you discuss it with your attorney

     16   before you signed it?

     17               THE DEFENDANT:   Yes, I did.

     18               THE COURT:   Thank you.

     19               Please bring those documents back up, Mr.

     20   Cancellarich.

     21               Please place Mr. Hallac under oath.

     22               THE DEPUTY CLERK:   Will you please state your name for

     23   the record.

     24               THE DEFENDANT:   Albert Hallac.

     25               (Defendant sworn)


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       1              THE COURT:   Mr. Hallac, you have now been placed under

       2   oath.   If you make a false statement during these proceedings,

       3   you can be prosecuted for perjury.     Do you understand that?

       4              THE DEFENDANT:   Yes, your Honor.

       5              THE COURT:   The law requires that I ask you a number

       6   of questions to ensure that your plea is knowing and voluntary

       7   in all respects.

       8              You can be seated.

       9              To ensure your plea is knowing and voluntary in all

      10   respects, to you ensure that you understand what you are doing

      11   today and the consequences of what you are doing.      If you don't

      12   understand any question that I ask you, tell me that you don't

      13   understand the question and I will try to clarify the question

      14   or give you a chance to speak privately with your attorney so

      15   that you understand exactly what is being asked of you.      In

      16   addition, if at any time during these proceedings you want to

      17   speak with your attorney for any reason whatsoever, just tell

      18   me that you want to speak with your attorney and I will give

      19   you the chance to speak with him privately.

      20              Do you understand that?

      21              THE DEFENDANT:   Yes, your Honor.

      22              THE COURT:   Please state your full name.

      23              THE DEFENDANT:   Albert Hallac.

      24              THE COURT:   How old are you, sir?

      25              THE DEFENDANT:   78.


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       1              THE COURT:   How far did you get in school?

       2              THE DEFENDANT:   Bachelors degree.

       3              THE COURT:   Have you recently been treated for any

       4   type of mental illness?

       5              THE DEFENDANT:   Recently I was seeing a psychiatrist

       6   every six months or so.

       7              THE COURT:   For what condition do you see the

       8   psychiatrist?

       9              THE DEFENDANT:   Depression.

      10              THE COURT:   Do you take any medication for depression?

      11              THE DEFENDANT:   Yes, a medication called Cymbalta.

      12              THE COURT:   When was the last time you took Cymbalta?

      13              THE DEFENDANT:   Last night.

      14              THE COURT:   It is currently about 10:25 in the

      15   morning.

      16              Is there anything about that medication that affects

      17   your ability to think or to understand?

      18              THE DEFENDANT:   No, your Honor.

      19              THE COURT:   How frequently do you see the

      20   psychiatrist?

      21              THE DEFENDANT:   Every six months or so.

      22              THE COURT:   Am I correct in understanding that the

      23   depression is not acute?     It's not profoundly serious?

      24              THE DEFENDANT:   No, it is not.

      25              THE COURT:   Have you recently been treated for drug


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       1   addiction of any kind?

       2              THE DEFENDANT:   No, your Honor.

       3              THE COURT:   Have you recently been treated for

       4   alcoholism?

       5              THE DEFENDANT:   No, your Honor.

       6              THE COURT:   Apart from this Cymbalta, have you taken

       7   any kind of drugs or medicine, legal or illegal, within the

       8   last two days?

       9              THE DEFENDANT:   I do take two medications twice a day

      10   for heart, for asthma, for rheumatoid arthritis and a bunch of

      11   other things.    So I do take them at night and in the morning.

      12              THE COURT:   Is there anything about those medications

      13   that affects your ability to think or to understand?

      14              THE DEFENDANT:   No, your Honor.

      15              THE COURT:   Have you had any beer, wine or liquor in

      16   the last 24 hours?

      17              THE DEFENDANT:   No, your Honor.

      18              THE COURT:   Apart from the conditions you've already

      19   described are you seeing a doctor or health care provider for

      20   any other conditions?

      21              THE DEFENDANT:   I am seeing a health care provider in

      22   Florida for rheumatoid arthritis.

      23              THE COURT:   I think you mentioned asthma; right?

      24              THE DEFENDANT:   Yes.   But that is -- I had a flareup

      25   in March, April or so.


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       1              THE COURT:   You also mentioned a cardiac condition.

       2              THE DEFENDANT:    Yes.     I have been very fine with that.

       3   I have been taking regular medication for blood pressure and

       4   for cholesterol.

       5              THE COURT:   I see.      In general do you feel

       6   clear-headed today and able to understand what is going on

       7   around you?

       8              THE DEFENDANT:    I feel fine, your Honor.

       9              THE COURT:   Mr. Kaplan.

      10              MR. ALBANESE:    Mr. Albanese.     I am standing in for

      11   Mr. Kaplan today.

      12              THE COURT:   Mr. Albanese, am I correct in my

      13   assumption that you have spoken to Mr. Albanese before today's

      14   proceeding?

      15              MR. ALBANESE:    Yes, your Honor.

      16              THE COURT:   Without telling me the content of anything

      17   you may have discussed with him, did anything happen during

      18   your conversations with Mr. Hallac where you have reservations

      19   about his ability to proceed today?

      20              MR. ALBANESE:    No, your Honor.

      21              THE COURT:   Is either side aware of any physical,

      22   psychological or emotional condition that might prevent

      23   Mr. Hallac from entering a guilty plea today?

      24              MR. BAUER:   No, your Honor.

      25              THE COURT:   Let me ask Mr. Cancellarich to mark a copy


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       1   of the information as Court Exhibit 1 and to also place that

       2   before Mr. Hallac.

       3              Now, Mr. Hallac, a copy of the information against you

       4   has been placed before you and has been marked as Court Exhibit

       5   2.   Did you receive a copy of that information prior to today?

       6              THE DEFENDANT:   Yes, your Honor.

       7              THE COURT:   Have you had a chance to read the

       8   indictment and to discuss it with your attorneys, Mr. Kaplan

       9   and other attorneys with his firm including Mr. Albanese?

      10              THE DEFENDANT:   Yes, your Honor.

      11              THE COURT:   Are you generally satisfied with the

      12   representation you received in this case and the advice your

      13   attorneys have given to you?

      14              THE DEFENDANT:   Yes, your Honor.

      15              THE COURT:   Is it your intention here today to plead

      16   guilty to Counts One through Five of the information?

      17              THE DEFENDANT:   Yes, your Honor.

      18              THE COURT:   I want to discuss with you briefly the

      19   nature of the charge against you in each of the counts of the

      20   information, the elements the government would have to prove at

      21   trial to establish your guilt, and the penalties you face if

      22   your plea is accepted.

      23              Do you understand that Count One of the information

      24   charges you with conspiracy to commit the offenses of

      25   investment advisor fraud and securities fraud in violation of


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       1   Title 18, United States Code, Section 371?     Do you understand

       2   that is the nature of the charge against you in Count One?

       3              THE DEFENDANT:   Yes, your Honor.

       4              THE COURT:   Do you understand that in order to

       5   establish your guilt on Count One, the government would have to

       6   prove three elements beyond a reasonable doubt:      First, that

       7   there was an agreement among two or more people to commit the

       8   offenses of investment advisor fraud and securities fraud;

       9   second, that you knowingly entered into and became part of that

      10   agreement with knowledge of its illegal object; and third, that

      11   at least one the overt acts alleged in the information was

      12   committed in furtherance of the agreement or conspiracy; do you

      13   understand those are the three elements the government would

      14   have to prove with respect to Count One?

      15              THE DEFENDANT:   Yes, your Honor.

      16              THE COURT:   Do you you understand on and Count One you

      17   face the maximum sentence of five years' imprisonment, a

      18   maximum term of supervised release of three years, a maximum

      19   fine of the greatest of $250,000 or twice the gross pecuniary

      20   gain deprived from the offense, or twice the gross pecuniary

      21   loss to persons, other than yourself, plus a mandatory special

      22   assessment of $100; do you understand those are the penalties

      23   you face on Count One?

      24              THE DEFENDANT:   Yes, your Honor.

      25              THE COURT:   Do you understand that Count Two of the


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       1   information charges you with investment advisor fraud in

       2   violation of Title 15, Untied States Code, Section SOb-6 and

       3   80b-17?    Do you unde r stand that is the nature of the charge

       4   against you in Count Two?

       5              THE DEFENDANT:    Yes, your Ho nor.

       6              THE COURT:     Do you understand that in order to

       7   establish your guilt on Count Two, the government would have to

       8   prove the following elements beyond a reasonable doubt:          First,

       9   that you were and investment advisor; second, that you did one

      10   of the following:       That you either employed a device, scheme or

      11   artifice to defraud an actual or prospective investor advisory

      12   client or engaged in a transaction, practice or course of

      13   business which operated as a f raud and deceit upon those

      14   investment advisor clients or prospective advisory clients or

      15   engaged in an act, practice and course of business that was

      16   fraudulent, deceptive and manipulative?          The government would

      17   have to prove one of those three to satisfy the second element.

      18   The third element the government would have to prove is that

      19   you devised or participated in such alleged device, scheme or

      20   artifice to defraud or engaged in such alleged transaction,

      21   practice or course of business knowingly, willfully and with

      22   the int ent to defraud; and fourth that you employed such

      23   device, scheme or artifice to defraud or engaged in such

      24   transaction, practice or course of business by use of the mails

      25   or instrumentality of interstate commerce.


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       1              Do you understand those are the elements the

       2   government would have to prove with respect to Count Two?

       3              THE DEFENDANT:   Yes, your Honor.

       4              THE COURT:   Do you understand that if your plea to

       5   Count Two is accepted, you face a maximum sentence of five

       6   years' imprisonment, a maximum term of three years' supervised

       7   release, a maximum fine of the greatest $10,000 or twice the

       8   gross pecuniary gain arrived from the offense or twice

       9   pecuniary loss to persons other than yourself, plus a mandatory

      10   special assessment of $100; do you understand those are the

      11   penalties you face on Count Two?

      12              THE DEFENDANT:   Yes, your Honor.

      13              THE COURT:   Do you understand that Count Three of the

      14   information charges you with the offense of securities fraud in

      15   violation of Title 15, United States Code, Section 78j (b),

      16   Section 78ff and 17, C.F.R., 240.10b-5 and Title 18, United

      17   States Code, Section 2?     Do you understand that is the nature

      18   of the charge against you in Count Three, securities fraud?

      19              THE DEFENDANT:   Yes, your Honor.

      20              THE COURT:   Do you understand that in order to

      21   establish your guilt on Count Three, the government would have

      22   to prove -- excuse me.      In order to establish your guilt on

      23   Count Three, the government would have to prove the following

      24   elements beyond a reasonable doubt:     First, the government

      25   would have to prove that in connection with the purchase or


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       1   sale of securities, you did any one or more of the following:

       2   Employed a device, scheme or artifice to defraud or made an

       3   untrue statement of material facts or omitted to state a

       4   material fact which made what was said under the circumstances

       5   misleading or engaged in an act, practice or course of business

       6   that operated or would operate as a fraud or deceit upon a

       7   purchaser or seller.    The government would have to prove one of

       8   those three to es t ablish the first element.   The second element

       9   is that you acted willfully and knowingly and willfully knowing

      10   with the intent to defraud.     And third that the government

      11   would have to prove that you knowingly used or caused to be

      12   used any means or instruments of transportation or

      13   communication in interstate commerce or the use of the mails in

      14   furtherance the fraudulent conduct.

      15              Do you understand those are the elements that the

      16   government would have to prove to establish your guilt on Count

      17   Three?

      18              THE DEFENDANT:   Yes, your Honor.

      19              THE COURT:   Do you understand that on Count Three you

      20   face a maximum sentence of 20 years' imprisonment, a maximum

      21   term of three years of supervised release, a maximum fine of

      22   the greatest of $5 million or twice the gross pecuniary gain

      23   deprived from the offense or twice the gross pecuniary loss t o

      24   persons other than yourself resulting from the offense, plus a

      25   mandatory special assessment of $100; do you understand those


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       1   are the penalties you face on Count Three?

       2              THE DEFENDANT:   Yes, your Honor.

       3              THE COURT:   Do you understand that Count Four charges

       4   you with conspiracy to commit the offense of wire fraud in

       5   violation of Title 18, United States Code, Section 1349?     Do

       6   you understand that is the nature of the offense against you in

       7   Count Four?

       8              THE DEFENDANT:   Yes, your Honor.

       9              THE COURT:   Do you understand that in order to

      10   establish your guilt on Count Four, the government would have

      11   to prove two elements beyond a reasonable doubt:     First, that

      12   there was an agreement among two or more people to commit the

      13   offense of wire fraud; and second, that you knowingly entered

      14   into and became part of that agreement with knowledge of its

      15   illegal objects; do you understand that those are the elements

      16   the government would have to prove with respect to Count Four?

      17              THE DEFENDANT:   Yes, your Honor.

      18              THE COURT:   Do you understand that on Count Four you

      19   face a maximum sentence of 20 years' imprisonment, a maximum

      20   term of supervised release of three years, a maximum fine of

      21   the greatest $250,000 or twice the gross pecuniary gain derived

      22   from the offense, or twice the gross pecuniary loss to persons

      23   other than yourself plus a mandatory special assessment of

      24   $100; do you understand those are the penalties you face on

      25   Count Four?


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       1              THE DEFENDANT:   Yes, your Honor.

       2              THE COURT:   Finally, do you understand that Count Five

       3   charges you with t he substantive offense of wire fraud in

       4   violation of Title 18, United States Code, Section 1 3 43; do you

       5   understand that is the nature of the charge against you in

       6   Count Five?

       7              THE DEFENDANT:   Yes, your Honor.

       8              THE COURT:   Do you understand that in order to

       9   establish your guilt on Count Five, t he government would have

      10   to prove the following elements beyond a reasonable doubt:

      11   First, that there was a scheme or artifice to defraud or to

      12   obtain money or property by materially false and fraudulent

      13   pretenses, representations, or promises as alleged in the

      14   information; second, that you knowingly and willfully

      15   participated in the scheme or artifice to defraud with

      16   knowledge of its fraudulent nature and with the specific intent

      17   to defraud; and third, that in the execution of the scheme, you

      18   either used or caused the use of the interstate wires as

      19   specified in the information; do you understand those are the

      20   elements t hat the government would have to prove to establish

      21   your guilt on Count Five, the wire fraud count?

      22              THE DEFENDANT:   Yes, your Honor.

      23              THE COURT:   Do you understand that on Count Five you

      24   also face the maximum sentence of 20 years' imprisonment, a

      25   maximum term of supervised release of three years, a maximum


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       1   fine of the greatest of $250,000 or t wice the gross pecuniary

       2   gain derived from the offense or twice the gross pecuniary loss

       3   to persons other than yourself, plus a mandat ory special

       4   assessment of $100; do you understand those are the penalties

       5   you face on Count Five?

       6              THE DEFENDANT:   Yes, your Honor.

       7              THE COURT:   Do you understand that in the aggregate

       8   you face a maximum term of impris o nment of 70 years; do you

       9   understand that?

      10              THE DEFENDANT:   Yes, your Honor.

      11              THE COURT:   Mr. Hallac, do you also understand that as

      12   part of your sentence the Court must enter an order of

      13   restitution that you pay back to any victim any ill-gotten gain

      14   or expenses that the victims incurred as a result of your

      15   conduct; do you understand that?

      16              THE DEFENDANT:   Yes, your Honor.

      17              THE COURT:   Mr. Hallac, the plea to a felony can also

      18   have immigration consequences for individuals who are not

      19   United States citizens.     In light of that fact, let me ask you

      20   are you a U.S. citizen?

      21              THE DEFENDANT:   Yes, your Honor.

      22              THE COURT:   Mr. Hallac, do you understand that under

      23   the Sentencing Reform Act of 1984 the United States Sentencing

      24   Commission has issued advisory guidelines for judges to consult

      25   in imposing sentences in criminal cases; do you understand


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       1   that?

       2              THE DEFENDANT:   Yes, your Honor.

       3              THE COURT:   Have you and your attorneys discussed how

       4   the guidelines might apply in your case?

       5              THE DEFENDANT:   Yes, your Honor.

       6              THE COURT:   Do you understand that Judge Berman, the

       7   judge who is going to impose sentence here, will not be able to

       8   determine the appropriate guideline sentence for your case

       9   until a document called a presentence report has been prepared

      10   and until both you and the government have had the opportunity

      11   to review the report and make any challenges you have to the

      12   facts in the report and to the guideline range recommended by

      13   the Probation Department; do you understand that?

      14              THE DEFENDANT:   Yes, your Honor.

      15              THE COURT:   Do you understand that the guideline range

      16   found to apply in your case may turn out to be different from

      17   any range you discussed with your attorneys or any range you

      18   discussed with the government; do you understand that?

      19              THE DEFENDANT:   Yes, your Honor.

      20              THE COURT:   Do you understand that after your

      21   guideline range has been determined, the Court has the

      22   authority to depart from the guidelines and to impose a

      23   sentence that is even more severe or less severe than the

      24   sentence called for by the guidel i nes; do you understand that?

      25              THE DEFENDANT:   Yes, your Honor.


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       1              THE COURT:   Do you understand that the form of early

       2   release known as parole no longer exists i n the federal system

       3   and that if you are sentenced to a term of imprisonment, you

       4   will not be released on parole; do you understand that?

       5              THE DEFENDANT:   Yes, your Honor.

       6              THE COURT:   Do you understand that under some

       7   circumstances the government may have the right to appeal from

       8   any sentence that is imposed upon you and seek the imposition

       9   of a harsher sentence; do you understand that?

      10              THE DEFENDANT:   Yes, your Honor.

      11              THE COURT:   I want to discuss with you some of the

      12   rights you are giving up by pleading guilty.     Do you understand

      13   that you have the right to plead not guilty to the charges

      14   against you and you have the right to persist in that plea at

      15   all stages of the proceedings against you; do you understand

      16   you have those rights?

      17              THE DEFENDANT:   Yes, your Honor.

      18              THE COURT:   Do you understand that if you chose to

      19   plead not guilty, you have the right to the assistance of

      20   counsel at all stages of the proceedings against you and you

      21   have the right to have counsel appointed to you if you could

      22   not afford counsel; do you understand you have those rights?

      23              THE DEFENDANT:   Yes, your Honor.

      24              THE COURT:   Do you understand that if you chose to

      25   plead not guilty, you have the right to a trial by jury?     At


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       1   the trial, you would be presumed innocent and the government

       2   would have to prove your guilty beyond a reasonable doubt.       At

       3   a trial you would have the right to the assistance of counse l ,

       4   you have the right to have counsel appointed if you could not

       5   afford counsel, you would have the right to see and hear all

       6   the witnesses against you, and you would have the right to have

       7   those witnesses cross-examined or questioned in your own

       8   defense.   At a trial you have the right to testify and the

       9   right to offer evidence in your defense.       Conversely, you have

      10   the right to decline to testify or decline to offer evidence.

      11   And if you chose not to testify or chose not to offer evidence,

      12   those facts would not be used against you.      Finally, at trial

      13   you will have the right to compulsory process or court orders

      14   to compel witnesses to come to court and give testimony in your

      15   behalf.

      16              Do you understand you have all those rights if you

      17   chose to plead not guilty and go to trial?

      18              THE DEFENDANT:   Yes, your Honor.

      19              THE COURT:   Do you understand that by entering a plea

      20   of guilty if the plea is accepted, there will be no trial and

      21   you will be giving up your right to a trial as well as all the

      22   other rights associated with the trial that I have just

      23   described to you; do you understand you are giving up all those

      24   rights?

      25              THE DEFENDANT:   Yes, your Honor.


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       1              THE COURT:   Apart from the agreements that are set

       2   forth in Court Exhibit 1, which is the letter agreement you

       3   identified at the outset of these proceedings, has anyone made

       4   any other promises to you or has anyone made any threats to you

       5   or has anyone used any force against you to induce you to plead

       6   guilty?

       7              THE DEFENDANT:    No, your Honor.

       8              THE COURT:   Are you pleading guilty because you are in

       9   fact guilty?

      10              THE DEFENDANT:    Yes, your Honor.

      11              THE COURT:   At this time I am going to ask you to tell

      12   us what it is that you did that makes you guilty of the

      13   offenses charged in the information.

      14              Let me ask counsel is it a prepared statement?

      15              MR. ALBANESE:    Yes, your Honor.    We have a prepared

      16   statement.     Would you mind if he sits.

      17              THE COURT:   He can sit.   Let me ask you not to go too

      18   fast when you read.

      19              MR. ALBANESE:    Your Honor, would you like a copy?

      20              THE DEFENDANT:   Your Honor, the factual basis for my

      21   plea is as follows: During the time period specified in the

      22   information, I was the president of Weston Capital Asset

      23   Management.    Weston was a registered investment advisor and had

      24   offices in New York, Connecticut and West Palm Beach, Florida.

      25   Weston managed over a dozen hedge funds for its investors.


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       1              From in or about 2009 through at least in or about

       2   late 2012, I, along with others, participated if a scheme to

       3   defraud Weston investors.     Generally speaking:

       4              I failed to disclose to my investors material

       5   information about financial transactions involving their

       6   moneys;

       7              I failed to discuss close to investors the transfer of

       8   moneys from one investment fund to benefit the investors of

       9   another fund;

      10              I, along with the others, retained certain investor

      11   funds that were improperly transferred to an account that I

      12   controlled; and

      13              I agreed to make a false representation to assist a

      14   co-conspirator in an attempt to defraud another company.

      15              Allow me to explain these acts more specifically.

      16              In or about the fall of 2009, Fund.com, a public

      17   company, agreed to purchase a substantial ownership interest in

      18   Weston.    I soon learned that Fund.com was controlled by Jason

      19   Galanis, an individual who was barred by the SEC from being an

      20   officer or director of a public company.     While I disclosed the

      21   purchase of Weston by Fund.com to my investors, I did not

      22   disclose to the investors Galanis' control over, or involvement

      23   in, Fund.com.

      24              Similarly, in or about early 2010, I agreed with

      25   Galanis to enter into a transaction between one of Weston's


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       1   hedge funds called the Wimbledon Financing Fund, and an entity

       2   controlled by Galanis called the Gerova Financial Corporation.

       3   As part of that transaction I had the Wimbledon Financing Fund

       4   exchange all of its assets, which at the time consisted of

       5   investments in other hedge funds, with Gerova for restricted

       6   shares of Gerova stock believed to be worth approximately $85

       7   million.     While the details of the transaction were fully

       8   disclosed to investors of the Wimbledon Financing Fund, I did

       9   not disclose Galanis' control over or involvement with Gerova.

      10               In both instances I was concerned that Galanis'

      11   involvement in the deals, and the fact of his SEC bar, would

      12   upset my investors and cause them to oppose or aggressively

      13   question the deals.     I int entionally withheld this information

      14   about Galanis from the investors and did not instruct anyone

      15   else at Weston to inform the investors of Galanis' involvement

      16   with either Fund.com or Gerova.

      17               In early 2011, a series of negative articles appeared

      18   about Galanis, as well as othe r of his associates, and their

      19   involvement with Gerova.     As a result, Gerova's stock plummeted

      20   and it was eventually delisted from t he American Stock

      21   Exchange.     The stock that the Wimbledon Financing Fund held in

      22   Gerova became worthless.

      23               Around this time, Galanis introduced me to another

      24   individual named David Bergstein.     Bergstein offered to help me

      25   recover, on behalf of the Wimbledon Financing Fund investors,


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       1   the assets that they had given to Gerova in exchange for the

       2   now worthless Gerova stock.     However, Bergstein would only

       3   assist in this effort if the Wimbledon Financing Fund would

       4   contribute to the recovered assets to another company he

       5   created, called Arius Libra, in order to help finance

       6   investments in medical billing companies.     Hoping to recover

       7   Wimbledon Financing Fund's assets from Gerova, I agreed to this

       8   transaction.

       9              Part of the Gerova unwind transaction put together by

      10   Bergstein required paying off approximately $5 million worth of

      11   Gerova's debts.    Bergstein had assured me that the assets Arius

      12   Libra received from the financing fund, which had been

      13   recove r ed from Gerova, would be used to both obtain a loan to

      14   pay off the expenses of Gerova as well as provide operating

      15   capital f o r Arius Libra.   Bergstein, however, failed to obtain

      16   the promised loan for Arius Libra and then convinced me to take

      17   cash held in another Weston fund called the Partners II fund,

      18   and loan that cash to Arius Libra.     From in and or about

      19   August 2011 through December 2011, I caused Partners II to loan

      20   Arius Libra up to $9 million.    While the loans were

      21   collateralized with the Wimbledon Financing Fund assets in

      22   Arius Libra's possession, I did not inform the investors of

      23   Partners II that I had made this loan with their assets for the

      24   benefit of a separate group of Weston investors.

      25              Excuse me.


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       1              (Pause)

       2              In and around November 2011, Bergstein convinced me to

       3   enter into another transaction between a Weston fund called the

       4   Wimbledon TT Fund and an entity Bergstein controlled called

       5   Swartz IP.    As part of this transaction, I agreed to invest the

       6   cash held by the TT Fund into Swartz IP.       I did not conduct

       7   proper due diligence on Swartz IP nor did I inform the

       8   investors of the transaction.       The total amount of money

       9   transferred to Swartz IP was approximately $17 million.         I,

      10   along with Bergstein and others, also arranged for three

      11   million of the TT Fund to be used to repay part of the loan

      12   Arius Libra owed to the P II fund.       Again, this was not

      13   disclosed to the TT investors.

      14              In each of the before-mentioned conduct, which I

      15   omitted material information, this made my representations

      16   incomplete and therefore misleading.

      17              Many of the funds described above traded securities in

      18   the public exchanges.

      19              In addition, Bergstein caused $750,000 of the TT Fund

      20   money to be transferred to an entity called Purplebox.         This

      21   entity was an investment vehicle created for the benefit of

      22   myself and two other executives of Weston.       When I realized

      23   that the money Bergstein sent to Purplebox account belonged to

      24   the TT investors, I did not return the moneys to the TT Fund as

      25   I should have.       By this time I had transferred 240,000 of the


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       1   750,000 out of the Purplebox account for my personal use.

       2               In 2012, Bergstein requested I assist them in

       3   acquiring another company called Bidz.com.     Bergstein asked me

       4   to falsely represent that Weston would be the guarantor of

       5   Bergstein's purchase on Bidz.com.     Specifically, Bergstein

       6   falsely created and e-mailed me a financial statement for a

       7   Weston fund called Partners III that had no assets.     Bergstein

       8   asked me to falsify -- falsely represent that this fund,

       9   Partners III, would back him as the guarantor for the

      10   acquisition.     I knew the financial statement was false, but I

      11   forwarded the balance sheet to an attorney working on the

      12   transaction and represented the financial statement to be

      13   accurate.

      14               When I communicated with investors, it was by

      15   telephone, e-mail, and regular mail and the investors were in

      16   many states.     Many of the actions described to you today

      17   occurred while conducting business in the City of New York.

      18               I stand before the Court today to plead guilty to the

      19   crimes I have just described.     When I engaged in these acts, I

      20   knew they were wrong but did them anyway.     Your Honor, I worked

      21   hard my whole life to build my business and provide for my

      22   family.     I strove to live and conduct myself both personally

      23   and professionally, in a manner that I could be proud of:       With

      24   honor, modesty, dignity and integrity.     I recognize that the

      25   conduct that I have just described betrayed these aspirations.


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       1   Yet I take full responsibility for my actions and I will spend

       2   every day, for the rest of my life, living with the

       3   consequences of my actions and working to repair the damage I

       4   have caused to others, my family and myself.

       5              THE COURT:    Does the government believe any further

       6   inquiry is a necessary concerning the facts of the offenses?

       7              MR. BAUER:    Judge, just a couple technical matters

       8   relating to interstate commerce and venue.       Mr. Hallac

       9   mentioned that he conducted business in the City of New York.

      10   I believe that is Manhattan, the Southern District of New York.

      11   If we can clarify that.

      12              THE COURT :   Mr. Hallac, on page 7 of your comments you

      13   referred to conducting business in the City of New York.        Was

      14   that spec i fically Manhattan or the Bronx within the City of New

      15   York?

      16              THE DEFENDANT:    It was in Manhattan, yes, sir.

      17              MR. BAUER:    Then referring to the bottom of page 6

      18   where it was discussing that Mr. Hallac had sent the false

      19   financial statement regarding Bidz.com, I wanted to clarify

      20   that.   I believe that was sent by e-mail electronic mail, and

      21   it was done so while Mr. Hallac was in Florida.        He sent it to

      22   a recipient in California, but the e-mail server from which it

      23   was sent over was here in the Southern District of New York.

      24              THE COURT:    Is that correct?

      25              THE DEFENDANT:   Yes.     Yes, your Honor, that is


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       1   correct.

       2              MR. BAUER:   Thank you, your Honor.      No other

       3   questions.

       4              THE COURT:   Does the government represent that it has

       5   facts in its possession to prove Mr. Hallac's guilt beyond a

       6   reasonable doubt?

       7              MR. BAUER:   Yes, your Honor.

       8              Mr. Hallac, how do you plead to each of the Counts One

       9   through Five to the information that has been placed before you

      10   and ma r ked Court Exhibit 2, guilty or not guilty?

      11              THE DEFENDANT:    Guilty.

      12              THE COURT:   That is guilty to each count; is that

      13   correct?

      14              THE DEFENDANT:    Yes, your Honor.

      15              THE COURT:   Does the government believe any further

      16   inquiry should be made concerning any matter?

      17              MR. BAUER:   Well, your Honor, there is a fo r feiture

      18   allegation in the information.         I would ask that your Honor ask

      19   Mr. Hallac if he admits to that allegation.

      20              MR. ALBANESE:    Mr. Hallac, it is also my understanding

      21   that as part of your agreement with the government, you're

      22   agreeing to forfeit or give over to the government any

      23   ill-gotten gain that you have received as a result of the

      24   conduct you just described or anything that you purchased with

      25   the ill-gotten gain that resulted from the conduct; is that


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       1   correct?

       2              THE DEFENDANT:    That's correct, your Honor.

       3              THE COURT:   Anything else from the government?

       4              MR. BAUER:   No, your Honor.   Thank you.

       5              THE COURT:   Mr. Albanese, do you believe any further

       6   inquiry should be made concerning any subject?

       7              MR. ALBANESE:    No, your Honor.

       8              THE COURT:   You can be seated, gentleman.

       9              Based on Mr. Hallac's physical appearance, his

      10   demeanor and his answers to all the forgoing questions, I find

      11   that he is fully competent and capable of entering an informed

      12   and voluntary plea, that he is aware of the nature of the

      13   charges and the consequences of the plea, and that the plea is

      14   knowing and voluntary and supported by an independent basis in

      15   fact as to each of the essential elements of the offenses.      I

      16   therefore accept the plea and recommend that Judge Berman

      17   accept the plea.

      18              I take it a presentence report should not be ordered

      19   at this time nor should a sentencing date be set?

      20              MR. BAUER:   No, your Honor.   If you would like if you

      21   want to set a control date, I would ask for six months out.         I

      22   would also be just as comfortable to represent to your Honor

      23   that we'll be in touch with Judge Berman's chambers and set a

      24   control date with them.

      25              THE COURT:   I think it is better to do that directly


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       1   with Judge Berman's chambers.

       2              MR. BAUER:   Thank you, your Honor.

       3              THE COURT:   My understanding is that this is

       4   Mr. Hal l ac's initial appearance; is that correct?

       5              MR. ALBANESE:    That is correct, your Honor.

       6              THE COURT:   So bail also needs to be set?

       7              MR. BAUER:   That's correct, your Honor.

       8              THE COURT:   Do you have the pretrial services report?

       9              MR. BAUER:   We do, your Honor.

      10              THE COURT:   What are the parties' view on bail?

      11              MR. BAUER:   Your Honor, I think the parties have come

      12   to an agreement to a package that hopefully your Honor deems

      13   appropriate.    It is a 500,000-dollar personal recognizance bond

      14   secured by the signature of Mr. Hallac.      And then besides that

      15   it is all of the usual terms, including travel restr i cted to

      16   the continental United States.      He has a United States

      17   passport, your Honor.      What the parties have discussed is that

      18   we would like him to turn that passport over to Pr etrial, but

      19   somewhere close to where he lives in Florida so that it could

      20   be accessed if necessary.      I know that Mr. Hallac in particular

      21   has an interest in visiting family in Canada in the next month

      22   or two.    The government is not opposed to it, but the

      23   government would ask that Mr. Hallac just make that application

      24   through Pretrial to Judge Berman.

      25              THE COURT:   Do we know what district he resides in in


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       1   Florida?

       2              MR. BAUER:   Southern District of Florida.

       3              THE COURT:   Passport to be surrendered to the Southern

       4   District of Florida.

       5              MR. BAUER:   And then no new travel applications be

       6   made.

       7              I also saw in the Pretrial Services' report that

       8   Pretrial recommended continued mental health treatment.       That

       9   seems to make sense.       Mr. Hallac said to you, your Honor, he

      10   sees a psychiatrist every six months.       That seems like that

      11   should continue.    In terms of reporting to Pretrial Services, I

      12   am happy to go along with Pretrial's recommendation that he

      13   report by the web or telephone as directed.

      14              THE COURT:   Mr. Albanese, what are your thoughts?       Is

      15   that the package that the parties have agreed?

      16              MR. ALBANESE:     Yes, your Honor.

      17              THE COURT:   I am going to set the bail as suggested by

      18   the government, a 500,000 PRB, travel limited to the

      19   continental United States, passport surrendered to Pretrial in

      20   the Southern District of Florida, no new applications for

      21   travel documents, continued mental health treatment, and

      22   regular Pretrial supervision by reporting by web or telephone.

      23              MR. ALBANESE:     Your Honor, I have one minor point.     At

      24   present Mr. Hallac is with his wife and family on vacation in

      25   Vermont so he will not be back in the Southern District of


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       1   Florida until the end of August.

       2              THE COURT:   So the bond set today and the other

       3   conditions met by August 31?

       4              MR. BAUER:   I am paus i ng on the passport.

       5              THE COURT:   Where is the passport right now?

       6              MR. ALBANESE:    In my pocket right now.

       7              THE COURT:   You want it surrendered in Florida?

       8

       9              PRETRIAL OFFICER:       Your Honor, we can ta ke possession

      10   of the passport.    We'll send it to the Pretrial office in the

      11   Southern District of Florida.

      12              THE COURT:   Does that work for everybody?

      13              MR. ALBANESE:    Thank you.

      14              THE COURT:   He doesn't need the passport between now

      15   and the end of August, does he?

      16              THE DEFENDANT:    No.

      17              MR. ALBANESE:    Definitely not.

      18              THE COURT:   So the bond and passport will be

      19   surrendered today and the other conditions met by the end of

      20   August.

      21              MR. ALBANESE:    Thank you, your Honor.

      22              THE COURT:   Anything else from either side,

      23   government?

      24              MR. BAUER:   No, Judge.     Just to clarify what we

      25   started to say, which was the sealing request, that the


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       1   courtroom has been closed today.          I do think that it is your

       2   Honor's order that the docket will be United States v. John Doe

       3   docket.

       4              THE COURT:   No docket entries.      Everything is held by

       5   Judge Berman until it is unsealed.

       6              Anything else from the government?

       7              MR. BAUER:   No, your Honor.      Thank you for your time.

       8              THE COURT:   Mr. Albanese, anything else?

       9              MR. ALBANESE:   No, your Honor.      Thank you very.

      10              THE COURT:   Thank you all.

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